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IN THE UNITED STATES DISTRICT COURT At Alby worse hg
FOR THE DISTRICT OF NEW MEXICO JUL 1 9 2018

UNITED STATES OF AMERICA,

Plaintiff,
Vs. No. 18-MJ-2053
ROBERTO CASSOLA,

Defendant.

ORDER GRANTING MOTION TO EXTEND GRAND JURY DEADLINE

THIS MATTER is before the Court on defendant’s unopposed Motion to Continue
(Doc. 12). There being good cause shown by the defendant and there being no objection by the
government, the Court finds the motion is well taken and should be granted.

In granting this motion, the Court expressly finds that the public’s interest in a speedy
indictment are outweighed by: (1) the public’s interest in a reasonably expeditious resolution of
this matter; (2) the public’s interest in relieving the burden that would be placed on judicial,
prosecutorial, defense, and law enforcement resources if the case proceeded to a speedy
indictment; and (3) the potential benefit conferred on Defendant as a result of a potential pre-
indictment resolution of this matter.

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. § 3161(h)(7)(A), an additional
period of time of 60 days is hereby tolled and excluded from the computation of speedy

indictment. Thus, the deadline for grand jury presentment is extended until September 18, 2018.

MAA

United States Magistrate Judge

 
